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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

NEMAN BROTHERS & ASSOC., INC.,
Plaintiff(s),

INTERFOCUS, INC. d.b.a. www.patpat.com, et al.

Defendant(s)

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

CASE NUMBER:

2:20-cv-11181 CAS (JPRx)

 

CERTIFICATION AND NOTICE
OF INTERESTED PARTIES

 

(Local Rule 7.1-1)

NEMAN BROTHERS & ASSOC., INC.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY CONNECTION / INTEREST
NEMAN BROTHERS & ASSOC., INC., Plaintiff
INTERFOCUS, INC. d.b.a. www.patpat.com, Defendant
CAN WANG; Defendant
DOES 1-10, Defendants
January 5, 2021 /s/ Chan Yong Jeong

 

 

Date Signature

Attorney of record for (or name of party appearing in pro per):

Chan Yong Jeong, Esq.

 

 

CV -30 (05/13)

NOTICE OF INTERESTED PARTIES
